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 \UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

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 MARIA JOSE PIZARRO,

                                                            ORDER GRANTING
                                                            MOTIONS FOR SUMMARY
                                   Plaintiff,
                                                            JUDGMENT AND FED. R.
            -against-                                       CIV. P. 11 SANCTIONS

 EUROS EL TINA RESTAURANT LOUNGE                             20 Civ. 5783 (AKH)
 AND BILLIARDS CORP., SANTIAGO
 QUEZADA, and SANTIAGO QUEZADA, Jr.,

                                   Defendants.
             -and-

 JOSEE. CASTRO, ELADIO CASTRO
 PRODUCTIONS, INC., EMITON FERNANDEZ
 a.le.a. EMILIO FERNANDEZ, NARCISO
 GOMEZ, ZOILIMAR MEJIA a.k.a ZULIMAR
 MEJIA, and TOMAS ANDRES PIZARRO
 ZEPEDA,

                              Third Party Defendants.

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AL VINK. HELLERSTEIN, U.S.D.J.:

               Plaintiff and Counterclaim Defendant Maria Jose Pizarro ("Pizarro") and Third-

Pmty Defendants Jose E. Castro and Eladia Castro Productions, Inc. ("Castro Defendants")

move for summary judgment pursuant to Fed. R. Civ. P. 56 on counterclaims and third-party

claims filed by Defendants Euros El Tina Restaurant Lounge ("Euros El Tina), Santiago

Quezada ("Quezada Sr.") and Santiago Quezada Jr. ("Quezada Jr.").

               Movants are entitled to summary judgment in their favor because there is no

implied civil right of action for Defendants' claims for wire fraud in violation of 18 U.S.C. §

1343, money laundering in violation of 18 U.S.C. §§ 1956(a)(l)(B), (a)(2)(B), and (a)(3)(B),

engaging in monetary transactions in property derived from specified unlawful activity in
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violation of 18 U.S.C. § 1957(a), and interstate transportation of stolen property in violation of

18 U.S.C. § 2314. See Robinson v. Overseas Military Sales Corp., 21 F.3d 502, 511 (2d Cir.

1994).

               As to the remaining claims under civil RICO and state law, Defendants fail to

demonstrate they suffered any losses, or that Movants' alleged conduct were the cause of any

losses. See, e.g., Kregos v. Associated Press, 3 F.3d 656,665 (2d Cir. 1993). Defendants

alleged that from April 2017 to July 2018, Ms. PizmTo and the Co-Conspirators stole over

$435,000 from Defendants, but testified that they had no evidence of Pizano or Castro taking

money from Euros, that no money was stolen prior to 2019, and only that alcohol bottles were

stolen in 2019, prior to the closing ofEuros El Tina. The only evidence to which Defendants cite

in support of their claims is self-serving, conclusory, and internally inconsistent.

               Defendants assert they need additional discovery. However, discovery was closed

by order of July 25, 2022. ECF No. 141. Furthermore, Defendants would have known about

their losses from their own books and records prior to filing their claims. In sum, there are no

issues of fact to be tried; the motions for smrnnary judgment are granted.

               Third Party Defendant Castro's motion for Rule 11 sanctions is granted. Quezada

Jr. testified at his deposition that he had "no factual basis for why [he] believed Mr. Castro was

helping Miss PizaJTo steal from" Defendants aside from Castro and Pizano's friendship, and

could not show that anything had been stolen from Defendants. The continued prosecution of

this claim, devoid of factual and legal support, is sanctionable. Castro shall show expenses

incuned, post-trial, attributable solely to the defense of the third-party claims, with

contemporaneous time records, to the other side by September 19, 2024. If within two weeks
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there is no agreement as to the amount to which Castro is entitled, a motion shall be made by

October I 0, 2024.

               For the reasons above, Pizano and Castro's motions for summaiy judgment and

Rule 11 sanctions are granted. In the absence of merit against the two moving defendants, this

holding is applicable as well to the remaining defendants who have been served but have not

retained counsel. The Clerk shall enter judgment in favor of the third-party defendants and

Plaintiff Pizano as to the counterclaims and third-party claims and tenninate the open motions at

ECF Nos. 204 and 208. But for the regulation of fees, this case is now closed.



               SO ORDERED.

Dated:         August 29, 2024
               New York, New York
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                                                  A~VIN     K.HELLERsTEIN
                                                    United States District Judge
